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|N THE UN|TED STATES D|STR|CT COURT FOR F

 

FEB - 22012

THE WESTERN D|STR|CT OF OKLAHOMA

GARY MORR|S and CAND|CE MORR|S, )
) ROB&RT D. DENN@S, cLERK
plaintiffs, ) u.S.DiST.COu T,WESTERND¢$T.OFOKLA.
) BY+_`DEPUTY
vs. ) No. C|V-11-1298-W
)
CENTURY 21 ALL PRO REALT¥ et a|., )
)
Defendants. )

JUDGMENT
Pursuant to the Order issued in this matter on January 18, 2012, the Court hereby
D|SM|SSES this matter with prejudice as against all defendants

DATED and ENTERED this ';)“"4£/ day of February, 2012.

    

E R. WEST
UN|TED STATES D|STR|CT JUDGE

